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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

JAMES ANDREW TANNER                                                   PLAINTIFF

v.                          CASE NO. 4:17-CV-780 SWW


KURT ZIEGENHORN, IN HIS INDIVIDUAL
CAPACITY; COLONEL BILL BRYANT, IN HIS
OFFICIAL CAPACITY AS HEAD OF THE ARKANSAS
STATE POLICE, AN AGENCY OF THE STATE OF
ARKANSAS; WILLIAM SADLER, IN HIS INDIVIDUAL
CAPACITY; JOHN AND JANE DOE 1-5, INDIVIDUALLY
AND IN THEIR OFFICIAL CAPACITIES                                  DEFENDANTS


             JOINT FEDERAL RULE OF CIVIL PROCEDURE 26(f) REPORT

        The parties, by and through their counsel, William Whitfield Hyman for the

Plaintiff and Assistant Attorney General William Bird, for the Defendants, submit

the following information in compliance with Fed. R. Civ. P. 26(f) and Local Rule

26.1.

        1.      Any changes in timing, form, or requirements of mandatory

disclosures under Fed. R. Civ. P. 26(a).

        RESPONSE: No.

        2.      Date when mandatory disclosures were or will be made.

        RESPONSE: On or before March 8, 2018.

        3.      Subjects on which discovery may be needed.

        RESPONSE: By executing this Report, no party shall be deemed to (1) have

waived the right to conduct discovery on subjects not listed herein, or (2) be



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required to first seek the permission of the Court to conduct discovery with regard

to subjects not listed herein. Subject to the foregoing, Plaintiff will seek details

involving all aspects of the Defendants’ denials of Plaintiff’s allegations; witnesses-

expert and lay; depositions and discovery requests from Defendants’ witnesses

and/or employees; and any other documents or other areas that may become evident

during discovery. Defendants plan to conduct discovery regarding the Plaintiff and

the allegations in his complaint, Defendants’ defenses, and Plaintiff’s damages and

mitigation of damages.

      4.      Whether any party will likely be requested to disclose or

produce information from electronic or computer-based media. If so:

      RESPONSE: Plaintiff and Defendants anticipate seeking disclosure of

computer-based information. As such, the parties further state:

           a.    whether disclosure or production will be limited to data
reasonably available to the parties in the ordinary course of business;

      RESPONSE: It is anticipated that the sought disclosures will be data

reasonably available to Plaintiff and Defendant

              b.    the anticipated scope, cost and time required for
                    disclosure or production of data beyond what is
                    reasonably available to the parties in the ordinary course
                    of business;

      RESPONSE: The parties are unable to determine if such production will be

required, but if such production becomes necessary, the parties will timely inform

the Court.




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              c.    the format and media agreed to by the parties for the
                    production of such data as well as agreed procedures for
                    such production;

      RESPONSE: Without waiving appropriate objections, information that is

stored electronically will be provided in the format in which it is ordinarily kept or

in a reasonably useable form in accordance with Fed. R. Civ. P. 34(b).

              d.    whether reasonable measures have been taken to
                    preserve potentially discoverable data from alteration or
                    destruction in the ordinary course of business or
                    otherwise; and

      RESPONSE: Unknown.         Parties specifically request that all potentially

discoverable data be preserved from alteration or destruction in the ordinary course

of business or otherwise.

              e.    other problems which the parties anticipate may arise in
                    connection with electronic or computer-based discovery

      RESPONSE: None at this time.

      5.      Date by which discovery should be completed.

      RESPONSE: January 21, 2019

      6.      Any needed changes in limitations imposed by the Federal

Rules of Civil Procedure.

      RESPONSE: The parties consent to the electronic service of Initial

Disclosures, Interrogatories, Requests for Production of Documents, Requests for

Admissions, and Notices of Deposition, as well as Responses to Interrogatories,

Requests for Production of Documents, and Requests for Admission, at the e-mail

addresses at which they receive ECF filings in this case.



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      7.      Any Orders, e.g. protective orders, which should be entered.

      RESPONSE: Without waiving the right to seek the entry of any order,

including a protective order, in the future, at this time the parties are not aware of

any specific orders which should be entered by the Court.

      8.      Any objections to initial disclosures on the ground that

mandatory disclosures are not appropriate in the circumstances of the

action.

      RESPONSE: No.

      9.      Any objections to the proposed trial date.

      RESPONSE: No.

      10.     Proposed deadline for joining other parties and amending the

pleadings.

      RESPONSE: October 22, 2018

      11.     Proposed deadline for completing discovery.

      RESPONSE: January 21, 2019

      12.     Proposed deadline for filing motions.

      RESPONSE: February 19, 2019




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                           Respectfully submitted,

                           KING LAW GROUP, PLLC
                           Attorneys at Law
                           300 N. Sixth Street
                           Fort Smith, AR 72901
                           479-782-1125 Office
                           479-316-2252 Facsimile
                           Attorney for the Plaintiff

                     By:   /s/ William Whitfield Hyman
                           William Whitfield Hyman, ABN 2013237
                           hyman@arkansaslawking.com

         AND

                           William C. Bird III
                           Assistant Attorney General
                           Office of the Arkansas Attorney General
                           323 Center St., Ste. 200
                           Little Rock, AR 72201
                           ph. 501-682-1317
                           fax 501-682-2591

                           /s/ William C. Bird III
                           William C. Bird III, ABN 2005149
                           william.bird@arkansasag.gov




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